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                 UNITED STATES BANKRUPTCY COURT
                   SOUTHERN DISTRICT OF INDIANA
                      INDIANAPOLIS DIVISION
IN RE:                           )
                                 )
RODNEY GRUBBS                    )    CASE NO. 23-05593-RLM-7
                                 )
           DEBTOR.               )

                 TRUSTEE'S AMENDED APPLICATION TO EMPLOY REALTOR

       The Applicant, Joanne Friedmeyer, and for her Amended1 Application to Employ Realtor

respectfully represents:

       1.        She is the duly qualified and acting Trustee in the above-noted bankruptcy.

       2.        Your petitioner wishes to employ Lisa Brinnon and the real estate firm of Irongate,

Inc., as a real estate professional in order to sell certain real estate in which the Debtor owns an

interest located at: (i) 207 E. Sunrise Ave, Dayton, OH 45426; (ii) 7032 Marsh Creek Drive, Dayton,

OH 45426; (iii) 3738 Wilmore St., Dayton, OH 45416; (iv) 423 Fountain Ave, Dayton, OH 45405 (v)

426 Fountain Ave, Dayton, OH 45405; and (vi) 319 W. Hudson Ave, Dayton, OH 45405

(collectively, the “Real Estate”), on the fee basis set forth below.

       3.        Petitioner has selected said real estate professional for the reason that said professional

has experience in matters of this character, he is familiar with the area in which the Real Estate is

located, and is well qualified to provide services to the Bankruptcy Estate in this proceeding.

       4.        The following is a current fee schedule for Lisa Brinnon and the real estate firm of

Irongate, Inc.    It is contemplated that Lisa Brinnon and the real estate firm of Irongate, Inc. will seek

compensation from the effective date of employment based upon said rates, and the fees to be

awarded shall be determined by this court upon application.

       Real Estate Sale Services:               6% of the gross sale price of each property
1
  This Application amends the original application [Doc. No. 41] to: (i) remove reference to the sale
of 130 Lorenz Avenue, Dayton, OH 45417; 133 Colgate Ave., Dayton, OH 45417 and 712 Randolph
Street, Dayton, OH 45417, because these three properties are each either vacant lots or abandoned
structures whose likely sale price is less than the property tax liens attaching to such properties; and
(ii) add the additional properties located at 3738 Wilmore St., Dayton, OH 45416; 423 Fountain Ave,
Dayton, OH 45405; 426 Fountain Ave, Dayton, OH 45405; and 319 W. Hudson Ave, Dayton, OH
45405, which the Trustee has identified from information provided by Debtor.
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                                              comprising the Real Estate, with such percentage
                                              to be split with any buyer’s agent, if applicable.
                                              If Lisa Brinnon and/or the real estate firm of
                                              Irongate, Inc., represent both buyer and seller,
                                              the fee will be 5% of the gross sale price of the
                                              property.

       5.      To the best of your petitioner's knowledge, said real estate professional and real estate

firm have no connection with the Debtor, they do not represent any adverse interest to the Trustee or

to the estate in this matter and their employment would be in the best interests of this estate.

       WHEREFORE, your petitioner prays that she be authorized to employ Lisa Brinnon and the

real estate firm of Irongate, Inc., as a real estate professional for the Bankruptcy Estate under the

above-described arrangement.

                                                  /s/ Joanne Friedmeyer, Trustee
                                                  Joanne Friedmeyer, Trustee
                                                  1389 West 86th Street, #280
                                                  Indianapolis, IN 46260
                                                  Email: jfriedmeyer@friedmeyeralaw.com

       I, Joanne Friedmeyer, Trustee, petitioner named in the foregoing petition, do hereby make
solemn oath that the statements contained herein are true to the best of my knowledge, information,
and belief.

                                                    /s/ Joanne Friedmeyer, Trustee____
                                                    Joanne Friedmeyer, Trustee
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on March 19, 2024 a copy of the foregoing was filed electronically. Notice
of this filing will be sent to the following parties through the Court’s Electronic Case Filing System.
Parties may access this filing through the Court’s System.

Steven Charles Coffaro      steve.coffaro@kmklaw.com
Matthew W. Foster      efiling@fosterlaw.llc, mfoster@isdh.in.gov
Richard Wayne Greeson        wgreeson@greesonlaw.com, courtdocs@greesonlaw.com;
James D. Johnson     jdjohnson@jacksonkelly.com, abigail.luckett@jacksonkelly.com
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James O'Connor     jjo@barrettlaw.com
Damaris D Rosich-Schwartz        damaris.d.rosich-schwartz@usdoj.gov
U.S. Trustee   ustpregion10.in.ecf@usdoj.gov

       I hereby further certify that on March 19, 2024 a copy of the foregoing was served upon:
Rodney Grubbs, 316 East 11th Street, Brookville, IN 47012, by United States first-class mail, postage
prepaid.

                                             /s/ Joanne B. Friedmeyer
                                               Joanne B. Friedmeyer (#10819-49)
                                               JOANNE B. FRIEDMEYER, P.C.
                                               1389 West 86th Street, #280
                                               Indianapolis, IN 46260
                                               Telephone: (317) 755-3103
                                               Facsimile: (317) 257-5676
                                               JFriedmeyer@FriedmeyerLaw.com
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               UNITED STATES BANKRUPTCY COURT
                 SOUTHERN DISTRICT OF INDIANA
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IN RE:                         )
                               )
RODNEY GRUBBS                  )    CASE NO. 23-05593-RLM-7
                               )
           DEBTOR.             )

                           VERIFIED AFFIDAVIT OF LISA BRINNON

Comes now Lisa Brinnon, and, being first duly sworn upon her oath, deposes and says:

        1.        I am a real estate agent with the real estate firm Irongate, Inc.

        2.        I have extensive experience in residential real estate sales in Dayton, Ohio and am

well-qualified to provide residential real estate listing services to the Trustee herein, and I accept

employment on the basis set forth in the Application.

        3.        Neither myself, nor Irongate, Inc., nor any of Irongate, Inc.’s shareholders hold

any interest adverse to the above-entitled estate and said residential real estate brokerage firm is

a disinterested party as defined in 11 U.S.C. Section 101(14).

        4.        Neither myself, nor Irongate, Inc., nor any of Irongate, Inc.’s shareholders have

any connections with the debtor, creditors, any other party in interest, their respective attorneys

and accountants, the United States trustee, or any person employed in the office of the United

States trustee.

        I declare under penalty of perjury that the foregoing is true and correct.

        FURTHER AFFIANT SAYETH NAUGHT.

I verify under penalty of perjury that the foregoing is true and correct to the best of my
knowledge.

Date:______________
        03-07-2024                               _______________________________
                                                 Lisa Brinnon, Agent
                                                 Irongate, Inc.
